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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *
UNITED STATES OF AMERICA
                                                 *
v.                                                       Criminal No. RDB-19-0600
                                                 *
JOSEPH EDWARD LIBERTO,
                                                 *
        Defendant.
                                    *
*       *       *       *   *   *   *  *   *    *   *                                     *       *      *
                         AMENDED MEMORANDUM OPINION

        Defendant Joseph Edward Liberto (“Liberto” or “Defendant”) was originally charged

in a 31-Count Indictment that was returned by the grand jury on December 18, 2019.

(Indictment, ECF No. 1.) On April 1, 2021, Liberto was charged in a 32-count Superseding

Indictment (the “Superseding Indictment”). (ECF No. 44 1.) These 32 Counts stem from an

alleged wire fraud scheme whereby Liberto allegedly defrauded the United States Postal

Service (“USPS”) out of more than $2 million by causing his former company, Sierra

Construction, LLC (“Sierra”) to hide from EMCOR Facilities Services, Inc. (“EMCOR”), an

agent for the USPS with which Sierra contracted, its use of subcontractors so that it could

submit invoices that far exceeded the amount it paid to them. (Id.)

        Now pending is the Defendant’s Motion Addressing Legal Principles Governing

Admissibility of Job File Exhibits (ECF Nos. 73, 74 2). Also pending is a Letter filed by


         1 The Superseding Indictment was amended on June 25, 2021 to correct a clerical error in Count 32.

(Amended Superseding Indictment, ECF No. 65.) On September 24, 2021, the Amended Superseding
Indictment was further amended by interlineation to correct inexact language in Counts 2 through 32. (ECF
No. 80.)
         2 Defendant filed a Corrected Motion (ECF No. 74) that simply corrects a citation to the Handbook

of Federal Evidence. Accordingly, the Court treats these pending Motions (ECF Nos. 73, 74) as one and the
same.
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Defendant on September 26, 2021, which seeks sanctions against the Government under

Federal Rule of Criminal Procedure 16, this Court’s Scheduling Order, and Brady v. Maryland,

373 U.S. 83 (1963) for the Government’s late production of 631 pages, including a newly

produced February 2018 memorandum of interview of a Government-proffered witness, Gary

Howser. (ECF No. 83.) Defendant has also filed a Letter objecting to the Court asking the

jury venire’s vaccination status during voir dire. (ECF No. 84.)

       After reviewing the parties’ submissions, this Court conducted a Motions Hearing on

September 27, 2021. For the reasons stated on the record at the September 27, 2021 Motions

Hearing and as supplemented below, Defendant’s Motion Addressing Legal Principles

Governing Admissibility of Job File Exhibits (ECF Nos. 73, 74) is DENIED WITHOUT

PREJUDICE as to the authenticity of specific exhibits and DENIED as to the business

records exception to the hearsay rule. Defendant’s September 26, 2021 Letter (ECF No. 83),

construed as a Motion for Sanctions under Federal Rule of Criminal Procedure 16, this Court’s

Scheduling Order, and Brady v. Maryland, 373 U.S. 83 (1963) is GRANTED, and the

Government is precluded from calling Gary Howser as a witness at trial and from introducing

into evidence at trial the 631 pages from the Government’s September 23, 2021 production,

including the Howser Memorandum of Interview and Cumberland job files. In addition,

Defendant’s objection to the Court’s asking the jury venire’s vaccination status during voir

dire (ECF No. 84) is OVERRULED.

                                     BACKGROUND

       The factual background of this case was discussed in detail in this Court’s October 8,

2020 Memorandum Opinion denying Defendant’s Motion to Dismiss. (ECF No. 40.) Of


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relevance here, on June 22, 2021, on the eve of the July 7, 2021 trial date, Defendant filed a

letter with the Court raising issues regarding the admissibility of certain job files that were

incomplete based on a disclosure the Government made the day prior on June 21, 2021. (ECF

No. 58.) The Government subsequently made a new production to the Defendant of what it

represented to be the complete job files for the substantive counts. (ECF No. 59.) The Court

convened an on-the-record telephone conference on June 22, 2021, treated the Defendant’s

letter as a request for a postponement of the July 7, 2021 trial date, and postponed the trial to

October 4, 2021. (ECF No. 60.)

       On August 16, 2021, Defendant filed a letter advising that he had concluded that the

appropriate time to raise issues concerning the admissibility of the job file exhibits was at trial

and that he had decided not to file a pretrial motion relating to the job files. (ECF No. 68.)

However, the Government believed it would be preferable for the issue to be briefed, argued,

and resolved prior to trial and requested a hearing on the matter. (ECF No. 69.) On August

23, 2021, the Court convened an off-the-record telephone conference to discuss scheduling

and the parties’ concerns regarding the admissibility of the job files at issue. (ECF No. 72.)

The parties agreed that the Government would file its designation of the job files it intends to

introduce in its case-in-chief by August 31, 2021. The Court also set a briefing schedule as to

the questions of the authenticity and admissibility of the job file exhibits and scheduled a

Motions Hearing for September 27, 2021. (Id.) Defendant filed his Motion on September 15,

2021 (ECF Nos. 73, 74), and the Government filed its Opposition on September 21, 2021

(ECF No. 75.) On September 22, 2021, after an off-the-record telephone call with counsel,

this Court filed a Letter Order rescheduling the trial start date from Monday, October 4, 2021


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to Tuesday, October 5, 2021. (ECF No. 76.) In addition, in response to the Defendant’s

objection to seating only jurors who are vaccinated against the COVID-19 virus, the Court

ordered Defendant to file a brief with respect to asking the jury venire’s vaccination status.

(Id.)

         On September 26, 2021, Defendant filed a Letter seeking sanctions against the

Government under Federal Rule of Criminal Procedure 16, this Court’s Scheduling Order,

and Brady v. Maryland, 373 U.S. 83 (1963) for the Government’s late production of 631 pages,

including a newly produced February 2018 memorandum of interview of a Government-

proffered witness, Gary Howser. (ECF No. 83.) The Government responded on September

27, 2021. (ECF No. 85.) Defendant also filed his brief objecting to the Court asking the jury

venire’s vaccination status during voir dure. (ECF No. 84.) The Court proceeded to the

Motions Hearing as scheduled on September 27, 2021, followed by the Pretrial Conference.

                                          ANALYSIS

    I.      Defendant’s Motion Addressing Legal Principles Governing Admissibility
            of Job File Exhibits (ECF Nos. 73, 74)

         Defendant raises several legal issues regarding the authenticity and admissibility of 61

job file exhibits the Government seeks to introduce in its case-in-chief. (ECF No. 74 at 3.)

Specifically, Defendant argues that the Government will not be able to establish: (1) that the

job file exhibits are authentic, (2) that they are business records, and (3) that the absence of

evidence of certain work by Sierra in the job file exhibits is evidence that no such work was

done. For the reasons stated on the record at the September 27, 2021 hearing and for the

reasons supplemented below, Defendant’s Motion is DENIED WITHOUT PREJUDICE as



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to the authenticity of specific exhibits and DENIED as to the business records exception to

the hearsay rule.

       A. Evidence at Issue

       When Postal Inspectors searched the business premises of Sierra Construction, LLC

on November 29, 2018, they seized boxes of documents mostly consisting of what were

referred to as Sierra “job files.” Each job file pertained to specific construction and repair

jobs performed by Sierra for the U.S. Postal Service. More than 3,500 of these files concern

jobs dispatched by EMCOR Facilities Service, Inc., an agent of the Postal Service contracted

for that purpose. Some job files were less than ten pages long and contained only invoices,

proposals and other basic information, while others included email correspondence with

EMCOR and the Postal Service, labor and expense records for Sierra employees,

subcontractor employees, or both, and brochures for products that were installed in Postal

Facilities, or considered for installation. (ECF No. 74 at 1.)

       The Government has since identified 61 of these job files—32 that relate to the 31

substantive counts of the superseding indictment and 29 others—that it intends to offer as

exhibits at trial. (ECF No. 74 at 2.) Defendant claims that after seizing the files and before

using those on which it relied in its presentation to the grand jury, the Government’s case

agent, Special Agent Sean Baer of the U.S. Postal Service Office of Inspector General (“Agent

Baer”), ordered the documents within those job files chronologically, selected from each file

what the government considered to be the “key” documents, and marked these partial copies

(including the file jackets) as grand jury exhibits. The Government produced those copies in

February of 2020. (Id. at 2.) In March of 2020, the Government produced a second copy of


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each of those job files that contained additional documents, as well as other job files identified

as potential trial exhibits.

        When Defendant inquired about the variations of the contents in the files, the

Government represented that its March 2020 production included the complete files. (ECF

No. 74 at 2.) In June of 2021, however, more than a year after their production, on the eve of

the then-trial date, July 7, 2021, the Government determined that documents were missing

from the copies that it had produced and represented to be complete in March 2020. (ECF

No. 58) The Government represented that it discovered the previously uncopied pages during

its trial preparation. (ECF No. 59.)

        The Court granted the Defendant’s request for a postponement of the trial (ECF No.

60) and the Government produced Jencks material 3, which included the grand jury exhibits

from Agent Baer’s March 2021 testimony. (ECF. No. 74 at 2.) The Defendant asserts that

contents of some of these files differed from the prior versions, including the versions used

in obtaining the indictment. Specifically, Defendant raises issues with the admission of 61 job

file exhibits and argues that the Government will not be able to show: (1) that the job file

exhibits are authentic under Fed. R. Evid. 901(a), (2) that they are business records under Fed.

R. Evid. 803(6), and (3) that the absence of evidence of certain work by Sierra in the job file

exhibits is evidence that no such work was done under Fed. R. Evid. 803(7). The Government

argues that all of the job file exhibits are easily authenticated and are admissible as business



         3 “In Jencks v. United States, 353 U.S. 657 (1957), the Supreme Court held that a criminal defendant has

the constitutional right to inspect, for impeachment purposes, prior statements made to Government agents
by Government witnesses. Such statements must be produced, upon defendant’s request, prior to cross-
examination if their contents are related to the subject matter of the witness’ direct. Id. at 667-72.” 1 Fourth
Circuit Criminall Handbook § 52 (2021). This holding was codified by the Jencks Act, 18 U.S.C. § 3500.

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records. The Government also states that it does not intend to argue that the lack of a record

in a job file of work done by Sierra is conclusive evidence that no such work occurred under

Rule 803(7). (ECF No. 75 at 26.) Accordingly, because the Court preliminarly finds the

evidence both authentic and admissible as business records, it need not address the

admissibility of the evidence under Rule 803(7).

       B. Federal Rule of Evidence 901(a): Authenticating or Identifying Evidence

       Federal Rule of Evidence 901(a) provides: “To satisfy the requirement of

authenticating or identifying an item of evidence, the proponent must produce evidence

sufficient to support a finding that the item is what the proponent claims it is.” Fed. R. Evid.

901(a). Fed. R. Evid. 901(b) contains a list of examples of evidence that satisfies the

requirement of 901(a), including “testimony of a witness with knowledge,” “nonexpert

opinion about handwriting,” and “distinctive characteristic and the like.” Fed R. Evid. 901(b).

The burden of establishing the authenticity of a particular document “is a light one.” In re

Intern. Management Associates, 781 F.3d 1262, 1267 (11th Cir. 2015); United States v. Vidacak, 553

F.3d 344, 349 (4th Cir. 2009) (“The burden to authenticate under Rule 901 is not high - only

a prima facie showing is required.”). All that is required is sufficient evidence so that a jury

“could reasonably have concluded” that a document was authentic. In re Intern. Management

Associates, 781 F.3d at 1267.

       The district court needs “only to satisfy itself that it was ‘improbable that the original

item had been exchanged with another or otherwise tampered with.’” United States v. Summers,

666 F.3d 192,201 (4th Cir. 2011) (further noting that “The district court’s role is merely to act

as a gatekeeper for the jury”) (quoting United States v. Jones, 356 F.3d 529,535 (4th Cir. 2004)).


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After meeting the prima facie burden, the evidence may then be admitted, although the ultimate

question of the authenticity of the evidence (or the weight to be given it) remains to be decided

by the jury. United States v. Lebowitz, 676 F.3d 1000, 1009 (11th Cir. 2012); Vidacak, 553 F.3d

at 349. A court’s decision that a document is authentic must be sustained on appeal unless

there is “no competent evidence in the record to support it.” Lebowitz, 676 F.3d at 1009.

       In this case, the Court is satisfied that the 61 job files in question meet the Rule 901

authentication standard. The absence of a few documents that were originally included in a

company’s file or files does not justify the exclusion of those files in their entirety. See United

States v. Panza, 750 F.2d 1141 (2d Cir. 1984); United States v. Hathaway, 798 F.2d 902, 907(6th

Cir. 1986) (“The fact that records were missing or unavailable does not evidence a clear abuse

of discretion in the district court’s finding that the records were trustworthy. Instead, it is an

argument which best goes to the weight to be given that evidence.”). Under Rule 901(a), the

Government simply must make a prima facie case that the job file exhibits are what they purport

to be. The testimony of either employees of Sierra, specifically Kevin Fink, Tammy Acha,

Dennis Walter, and Mike Wineke, or Special Agent Baer, meets the standard of evidence

“sufficient to support a finding that the item is what the proponent claims it is” in this case.

       Rule 901(b)(1) makes it clear that the “testimony of a witness with knowledge” is

sufficient to make the necessary showing under 901(a). Based on the Government’s proffer,

it appears that both the employees and Special Agent Baer have the requisite knowledge about

the job file exhibits to establish that they are in fact the Sierra job files. The employees

themselves worked with the files and in some instances actually wrote on them. Special Agent

Baer was present for the seizure of the files and has reviewed EMCOR, Postal, and Sierra


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records. As such, both the employees and Special Agent Baer have the necessary knowledge

to authenticate the job file exhibits. Likewise, both the employees and Special Agent Baer will

likely be able to identify the job files as Sierra files by their distinctive characteristics such as

the writings on the file covers. See Fed. R. Evid. 901(b)(4).

       To be sure, Defendant is free to make specific objections as to the authenticity of any

exhibit to the extent he argues that the exhibit is not what it purports to be, notwithstanding

the Court’s ruling that the re-ordering of documents within a given file does not render the

file inauthentic. Defendant is also free to cross-examine the witnesses about whether the files

as presented are exactly as they were when they were stored at Sierra’s office. Accordingly,

the Defendant’s Motion (ECF Nos. 73, 74) is DENIED WITHOUT PREJUDICE as to

the authenticity of specific exhibits.

       C. Federal Rule of Evidence 803(6): Exceptions to the Hearsay Rule (Business
          Records)

       Defendant argues that the job files in question do not qualify as business records in the

form the Government intends to admit them. The requirements of the business records

exception are:

                 (A) the record was made at or near the time by - or from information
                 transmitted by - someone with knowledge;
                 (B) the record was kept in the course of a regularly conducted activity of a
                 business;
                 (C) making the record was a regular practice of that activity;
                 (D) all of these first three conditions are shown by the testimony of a custodian
                 or another qualified witness, or by a certificate that complies with Rule 902(11)
                 or (12) or with a statute permitting certification; and
                 (E) the opponent does not show that the source of the information or the
                 circumstances of preparation indicate a lack of trustworthiness.
Fed. R. Evid. 803(6); see also In re Intern. Management Associates, LLC, 781 F.3d at 1267.


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       Under Rule 803(6)(D), all that is required of “another qualified witness” is that “the

witness understands the system used to prepare the records.” Conoco, Inc. v. Dept. of Energy, 99

F.3d 387, 391 (Fed. Cir. 1996); Wallace Motor Sales, Inc. v. American Motor Sales Corp., 780 F.2d

1049, 1061 (1st Cir. 1985). “The term ‘qualified witness’ is broadly construed.’” United States

v. Jones, 522 Fed. App’x 204, 207 (4th Cir. Aug. 4, 2015) (citing United States v. Franco, 874 F.2d

1136 (7th Cir. 1989); United States v. Dominguez, 835 F.2d 694 (7th Cir. 1987); United States v.

Duncan, 919 F.2d 981 (5th Cir. 1990)).

       Law enforcement agents are regularly permitted to testify as “qualified” witnesses

under Rule 803(6)(D). See, e.g., United States v. Hathaway, 798 F.2d 902, 906 (6th Cir. 1986)

(allowing FBI agent to testify as “another qualified witness” because “there is no reason why

a proper foundation for application of Rule 803(6) cannot be laid, in whole or in part, by the

testimony of a government agent or other person outside the organization whose records are

sought to be admitted”); United States v. Franco, 874 F.2d 1136, 1138 (7th Cir. 1989) (narcotics

agent who conducted search of money exchange business and spoke to its owner and an

employee about the manner in which they kept the records was a “qualified witness” who

could authenticate the business’s records); United States v. Coffman, 574 Fed. Appx. 541, 556

(6th Cir. 2014) (Assistant U.S. Attorney who subpoenaed and received bank records and a

U.S. Postal Service analyst who also worked on the investigation were qualified witnesses who

could authenticate the records); United States v. Gordon, 2019 WL 4303046, at *11 (D. Me. Sept.

11, 2019) (“Special Agent Thresher can describe Bancorp’s record-keeping system based upon

his personal observations. His status as a government agent does not negate his personal

knowledge.”).


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         Rule 803(6) “favors the admission of evidence rather than its exclusion if it has any

probative value at all.” In re Ollag Constr. Equip. Corp., 665 F.2d 43, 46 (2d Cir. 1981), quoting

United States v. Carranco, 551 F.2d 1197, 1200 (10th Cir. 1977); United States v. Kaiser, 609 F.3d

556, 574 (2d Cir. 2010). Moreover, “[b]ecause of the general trustworthiness of regularly kept

records and the need for such evidence in many cases, the business records exception has been

construed generously in favor of admissibility.” Conoco Inc. v. Dep’t of Energy, 99 F.3d 387, 391

(Fed. Cir. 1996).

         The Court finds that the 61 job file exhibits meet the requirements of Rule 803(6) with

Agent Baer as a “qualified witness.” The Defendant objects to the testimony of Special Agent

Baer at trial because his testimony as a “qualified” witness under 803(6)(D) would be “based

largely, if not entirely, on hearsay” and therefore inadmissible. (Def. Reply at 2.) The

Government has identified, however, many sources of Special Agent Baer’s knowledge

regarding the nature and maintenance of the Sierra job files beyond his interviews with Sierra

employees. (See Gov. Resp. at 22-23.) Special Agent Baer was the affiant on the search

warrant and personally witnessed the seizure of the files. Indeed, law enforcement agents have

been permitted to testify under 803(6)(D) with less direct basis for their knowledge of the way

the records were kept than Special Agent Baer has had. See Hathaway, 798 F.2d at 906 (6th

Cir. 1986); Franco, 874 F.2d at 1138 (7th Cir. 1989); Coffman, 574 Fed. Appx. at 556 (6th Cir.

2014); Gordon, 2019 WL 4303046, at *11.

         Accordingly, Defendant’s Motion (ECF Nos. 73, 74) is DENIED as to the business

records exception to the hearsay rule.

   II.      Rule 16 and Brady violation (ECF No. 83)


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       On the evening of September 26, 2021, the night before the Motions Hearing, the

Defendant filed a letter, supported by exhibits, claiming that the Government had made yet

another belated pretrial disclosure of documents and arguing that the material disclosed

constituted material in violation of Brady v. Maryland, 373 U.S. 83, 87 (1963) 4. (ECF No. 83.)

These documents consist of a Memorandum of Interview conducted with Gary Howser of

the Cumberland Post Office as well as some 60 Sierra job-related files from the Cumberland

Post office. Defendant informed the Court that he was not seeking a postponement of the

trial date, but asked the Court to preclude the Government from calling Mr. Howser as a

witness and to exclude the Cumberland job files and Howser Memorandum of Interview from

the evidence to be presented at trial. The Government responded to the Defendant’s letter

on September 27, 2021, arguing that the material was not exculpatory and was therefore not

Brady material. (ECF No. 85.) The Court shall construe the Defendant’s letter (ECF No. 83)

as a Motion for Sanctions pursuant to Brady and Rule 16 of the Federal Rules of Criminal

Procedure. For the reasons set forth on the record at the September 27, 2021 hearing and as

supplemented below, the Defendant’s motion is GRANTED.

       In Brady v. Maryland, 373 U.S. 83, 87 (1963), the Supreme Court held that “suppression

by the prosecution of evidence favorable to an accused upon request violates due process

where the evidence is material either to guilt or punishment, irrespective of the good faith or

bad faith of the prosecution.” See also United States v. Agurs, 427 U.S. 97, 106-07 (1976); Gilliam

v. Sealey, 932 F.3d 216, 238 (4th Cir. 2019); United States v. Young, 916 F.3d 368, 382 n.9 (4th

Cir. Feb. 21, 2019); United States v. Horton, 693 F.3d 463, 470 (4th Cir. 2012).


       4   See Brady dicussion infra.

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       To prove a Brady violation, a defendant must show that non-disclosed evidence was (1)

favorable to the defendant; (2) material; and (3) that the prosecution had the materials and

failed to disclose them. Moore v. Illinois, 408 U.S. 786, 794–95 (1972). Evidence is “material”

when there is a reasonable probability that, had the evidence been disclosed, the result of the

proceedings would have been different. Burley v. Balt. Police Dep’t, 422 F. Supp. 3d 986, 1027

(D. Md. 2019). See also Kyles v. Whitley, 514 U.S. 419, 433-34 (1995); United States v. Bagley, 473

U.S. 667, 682 (1985); United States v. Parker, 790 F.3d 550, 558 (4th Cir. 2015); United States v.

Bartko, 728 F.3d 327, 340 (4th Cir. 2013); United States v. Kelly, 35 F.3d 929, 936 (4th Cir. 1994).

       As noted by the United States Court of Appeals for the Fourth Circuit in United States

v. Robinson, 627 F.3d 941, 951 (4th Cir. 2010), “Brady’s commands do not stop at the

prosecutor’s door; the knowledge of some who are part of the investigative team is imputed

to prosecutors regardless of the prosecutors’ actual awareness.” Accord Kyles, 514 U.S. at 437

(“[T]he individual prosecutor has a duty to learn of any favorable evidence known to the others

acting on the government’s behalf, including the police.”).

       In addition, Rule 16 of the Federal Rules of Criminal Procedure requires the

government to disclose to the defendant “books, papers, documents, data, photographs,

tangible objects, buildings or places, or copies or portions of any of these items, if the item is

within the government's possession, custody, or control and ... the item is material to preparing

the defense.” Fed. R. Crim. P. 16(a)(1)(E)(i). Upon finding a violation of Rule 16, a district

court has discretion under the Federal Rules of Criminal Procedure to determine the proper

remedy. See Fed. R. Crim. P. 16(d)(2); United States v. McLean, 715 F.3d 129, 142 (4th Cir.

2013); United States v. Barile, 286 F.3d 749, 758-59 (4th Cir. 2002); United States v. Muse, 83 F.3d


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672, 675 (4th Cir. 1996) (“[A] trial court’s decision as to the appropriate remedy [for a

discovery violation] may only be reversed for abuse of discretion.”).

        This is not the first time this Court has had to intervene as a result of belated discovery

productions by the Government in this case. The record reflects that on June 22, 2021, just

days before the July 7 trial date, this Court held an on-the-record telephone conference with

the parties to address submissions related to the Government’s recent re-production of Sierra

job files which included several additional documents that had only been noticed during

preparation for trial. (ECF No. 60.) This Court treated the Defendant’s letter at ECF No. 58

as a request for the postponement of the July 7 trial date and granted that request. The trial is

now scheduled to begin on October 5, 2021.

        The evening before the motions hearing and pretrial conference scheduled for

September 27, 2021, the Defendant filed a letter with the Court stating that on September 23,

2021, less than two weeks before the start of trial, the Government produced 631 pages of

documents that included a February 2018 Memorandum of Interview with Gary Howser 5, the

maintenance manager at the Cumberland Post Office, as well as files concerning 60 Sierra jobs

maintained by the Cumberland Post Office. (ECF No. 83 at 1-2.) The letter explained that

counsel for the Government represented that they only learned of the records Mr. Howser

maintained for the Cumberland jobs following a trial preparation session with Mr. Howser.

The Letter also explained that the most of the documents had been provided to Special Agent




        5 At the September 27, 2021 hearing, Government counsel acknowledged that all other memoranda of
interview as to witnesses had been disclosed to Defendant in February of 2020 with the exception of two which
were disclosed in July of 2021. The Howser memorandum of interview was the only memorandum of interview
disclosed last week.

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Baer in February 2018. (Id. at 3.) The materials contain an additional 20 files that Special

Agent Baer obtained from Mr. Howser last week following the preparation session. The letter

also indicated that the Government still intended to call Mr. Howser as a witness at trial. (Id.

at 9.) The Government contended that the material is not exculpatory, but did not address

the Rule 16 concerns. (ECF No. 85.)

        As this Court explained on the record at the September 27, 2021 hearing, the

documents in question are Brady material and their belated disclosure violates Rule 16 of the

Federal Rules of Criminal Procedure as well as this Court’s Scheduling Order. 6

        The documents in question are favorable to the Defendant because they could support

his argument that there was a legitimate reason for Sierra to instruct its subcontractors not to

leave pricing information at local postal facilities that was unrelated to any fraud. The

Amended Superseding Indictment alleges that as “part of the conspiracy and the scheme to

defraud,” the Defendant “instructed and caused other Sierra employees to instruct

subcontractors that they should not leave copies of their proposals, estimates, or invoices with

postal employees at the facilities where they performed their repair work.” (ECF No. 65 ¶

31(c).) The Defendant, however, points to two examples from the Government’s production

of the Cumberland files that support his position that any such instruction had no relation to

fraud. (ECF No. 83 at 4.) In both examples, Mr. Howser’s records reflect frequent contacts

between Sierra subcontractors and the Cumberland Post Office, including an interaction in

which a Sierra subcontractor sent its proposal to the Postal Service, the result of which was a



        6 The Court notes that this violation is not the result of any misconduct on the part of Government
counsel. It clearly relates to errors of Government investigators.

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stream of phone calls and emails to straighten out the resulting confusion and clarify that the

Postal Service does not in fact pay the bill for Sierra’s subcontractor. (ECF No. 83-5.) The

Defendant asserts that this file is evidence of the “entirely innocent” reason why Sierra would

tell a subcontractor not to leave quotes and invoices with customers at local post offices: to

avoid confusion as to who would pay the subcontractor. (Id.)

       This Court agrees that the materials could support the Defendant’s argument as to the

possibility of a legitimate reason for instructing subcontractors not to leave pricing

information with local post offices. While the Government argues that evidence that one

subcontractor failed to heed Sierra’s instruction is not evidence that that instruction was not

part of a plan to overbill, such an argument does not erase the exculpatory nature of the

documents in question. Instead, it goes to arguments about the files that the Government

would have been free to make to the jury at trial.

       The documents in question are likewise material to the Defendant because, as stated

above, they cut against one of the central allegations in the indictment: that the Defendant

instructed Sierra subcontractors not to leave pricing information with local postal facilities to

facilitate a scheme to defraud.

       The documents were also in the possession of the Government. Agent Baer has

possessed the Howser Memorandum of Interview and at least 40 Cumberland job files since

February 2018, yet they were only turned over to the Defendant on the eve of trial following

a witness preparation session with Mr. Howser. As the cases cited above make clear, the

knowledge of an investigating agent acting on behalf of the Government can be imputed to

the prosecution in the Brady context. See, e.g., Robinson, 627 F.3d 941, 951. Since the documents


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are favorable to the Defendant, material to his defense, and were in the possession of the

Government, they constitute Brady material and their belated disclosure is unacceptable to this

Court. Therefore, Defendant’s September 26, 2021 Letter (ECF No. 83), construed as a

Motion for Sanctions under Federal Rule of Criminal Procedure 16, this Court’s Scheduling

Order, and Brady v. Maryland, 373 U.S. 83 (1963) is GRANTED.                   To remedy the

Government’s Brady violation, the Court will preclude the Government from calling Mr.

Howser at trial and from introducing into evidence at trial the 631 pages from the

Government’s September 23, 2021 production, including the Howser Memorandum of

Interview and Cumberland job files.

       This Court has also determined that the belated disclosure of the documents in

question is a violation of Federal Rule of Criminal Procedure 16 and this Court’s Scheduling

Order. The Cumberland documents clearly fall within the realm of information that Rule

16(a)(1)(E)(i) governs because they are documents that were in the control of the Government

and, as this Court has stated above, are material to the preparation of the defense in this case.

This Court will exercise its discretion to order the same remedy it has ordered for the Brady

violation: precluding the Government from calling Mr. Howser as a witness at trial and from

introducing into evidence at trial the 631 pages from the Government’s September 23, 2021

production, including the Howser Memorandum of Interview and Cumberland job files

   III.     Jury Venire Vaccination Status (ECF No. 84)

       Defendant has objected to the Court asking the jury venire’s COVID-19 vaccination

status during voir dire. (ECF No. 84.) As explained on the record at the September 27, 2021

hearing, asking the vaccination status of potential jurors is in keeping with this Court’s policy


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in the face of the COVID-19 Pandemic.             Accordingly, Defendant’s objection is

OVERRULED.

                                     CONCLUSION

       For the reasons stated on the record at the September 27, 2021 Motions Hearing, and

for the reasons stated above, Defendant’s Motion Addressing Legal Principles Governing

Admissibility of Job File Exhibits (ECF Nos. 73, 74) is DENIED WITHOUT PREJUDICE

as to the authenticity of specific exhibits and DENIED as to the business records exception

to the hearsay rule. Defendant’s September 26, 2021 Letter (ECF No. 83), construed as a

Motion for Sanctions under Federal Rule of Criminal Procedure 16, this Court’s Scheduling

Order, and Brady v. Maryland, 373 U.S. 83 (1963) is GRANTED; and the Government is

precluded from calling Gary Howser as a witness at trial and from introducing into evidence

at trial the 631 pages from the Government’s September 23, 2021 production, including the

Howser Memorandum of Interview and Cumberland job files. In addition, the Defendant’s

objection to the Court asking the jury venire’s vaccination status during voir dire (ECF No.

84) is OVERRULED.



       A separate Order follows.



       Dated: September 29, 2021                        _______/s/_______________
                                                        Richard D. Bennett
                                                        United States District Judge




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